                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )    Criminal No. 1:19-cr-10141-LTS
                                    )
SHELLEY M. RICHMOND JOSEPH,         )
and                                 )
WESLEY MACGREGOR,                   )
                                    )
      Defendants.                   )
____________________________________)




      AMICUS CURIAE BRIEF OF COMMONWEALTH OF MASSACHUSETTS
           IN SUPPORT OF DEFENDANTS’ MOTIONS TO DISMISS
                COUNTS I, II, AND III OF THE INDICTMENT




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    INTEREST OF AMICUS CURIAE COMMONWEALTH OF MASSACHUSETTS

       Massachusetts respectfully submits this amicus brief because the federal government’s

indictment of the Honorable Shelley Richmond Joseph and Officer Wesley MacGregor in this

matter represents an extraordinary and unwarranted attack on the independence and integrity of

our courts. The independence of the judiciary is a bedrock principle of Massachusetts

government. “The judiciary’s independence from the other branches of government and from

outside influences and extraneous concerns has been one of the cornerstones of our constitutional

democracy, intended to ensure that judges will be free to decide cases on the law and the facts as

their best judgment dictates, without fear or favor.” In re Enforcement of Subpoena, 463 Mass.

162, 169 (2012). Article 29 of the Massachusetts Declaration of Rights, principally drafted by

John Adams, establishes “the right of every citizen to be tried by judges as free, impartial and

independent as the lot of humanity will admit.” Article 30 provides for strict separation between

the executive, legislative, and judicial powers, “to the end it may be a government of laws and

not of men.”

       Under the U.S. Constitution, the federal government is bound to respect the independence

of the Massachusetts judiciary. As a state, Massachusetts retains substantial sovereign authority

in our federal constitutional system. Gregory v. Ashcroft, 501 U.S. 452, 457 (1991). The

Constitution created a federal government of limited powers, and “powers not delegated to the

United States by the Constitution, nor prohibited by it to the States, are reserved to the States

respectively, or to the people.” U.S. Const. amend. X; see also Bond v. United States, 564 U.S.

211, 225 (2011) (“Bond I”) (“Impermissible interference with state sovereignty is not within the

enumerated powers of the National Government[.]”). Accordingly, there is a “longstanding

public policy against federal court interference with state court proceedings.” Younger v. Harris,
401 U.S. 37, 43 (1971). Federal courts must afford “a proper respect for state functions,” Fair

Assessment in Real Est. Ass’n, Inc. v. McNary, 454 U.S. 100, 112 (1981), and state court judges

are protected by an absolute immunity from suit regardless of “the motives with which their

judicial acts are performed,” Bradley v. Fisher, 80 U.S. (13 Wall.) 335, 347 (1871).

       Never before has the federal government sought to punish a Massachusetts judge for

actions taken within her official duties. This case also appears to be one of the first instances in

which the United States has prosecuted any person for allegedly obstructing an U.S. Immigration

and Customs Enforcement (“ICE”) officer under 18 U.S.C. § 1505 or § 1512(c); it is certainly

the first time that this theory of liability has been deployed against a judge. As discussed below,

those federal obstruction statutes do not apply as a matter of law because the activities of the ICE

officer at the Newton courthouse on April 2, 2018 did not constitute a federal agency proceeding

as required by those laws, and those laws do not apply to attempts by ICE officers to effectuate a

civil arrest in a state courthouse. The indictment also fails to state a nexus between the

defendants’ conduct as state court officials and a qualifying federal proceeding, and neither

defendant is alleged to have engaged in the specific conduct required to satisfy the corrupt intent

element of each statute. Finally, as a state judge, Judge Joseph is immune from criminal

prosecution for actions taken in good faith within her official duties. These defects require

dismissal in their own right, but also because allowing this prosecution to proceed would

override the “usual constitutional balance of federal and state powers” and “alter sensitive

federal-state relationships” without Congress’ approval. Bond v. United States, 572 U.S. 844,

858, 863 (2014) (“Bond II”) (citations omitted). Simply put, our constitutional system does not

allow the United States Attorney to use the federal criminal code to interfere with, coerce, and

punish state judges in this manner.



                                                  2
                                         ARGUMENT

I.     THE FEDERAL GOVERNMENT’S APPLICATION OF 18 U.S.C. § 1505 AND
       § 1512(c) TO FEDERAL IMMIGRATION ENFORCEMENT ACTIVITIES IN
       STATE COURTHOUSES IS LEGALLY UNFOUNDED AND UNDERMINES
       CORE PRINCIPLES OF FEDERALISM AND JUDICIAL INDEPENDENCE.

       The federal government’s improper intrusion on traditional state authority begins with its

novel and legally unfounded interpretation of what constitutes a federal agency “proceeding” for

purposes of 18 U.S.C. §§ 1505 and 1512(c). To establish an offense under § 1505 (which the

indictment charges against Judge Joseph and Officer MacGregor in Count III), the federal

government must prove, among other things, that the defendants obstructed a “pending

proceeding … before any department or agency of the United States.”1 Similarly, to establish an

offense under § 1512(c)(2) (which the indictment charges against Judge Joseph and Officer

MacGregor in Counts I and II), the federal government must prove that the defendants obstructed

an “official proceeding.”2 Courts recognize and enforce limits on these “proceeding” elements in

order to avoid chilling everyday interactions with the federal government, and to prevent “a

statutory sprawl in which the countless communications of citizens with one agency or another

of the federal government lay the groundwork for a potential obstruction prosecution.” United


1
  18 U.S.C. § 1505 provides in relevant part that “[w]hoever corruptly, or by threats or force, or
by any threatening letter or communication influences, obstructs, or impedes or endeavors to
influence, obstruct, or impede the due and proper administration of the law under which any
pending proceeding is being had before any department or agency of the United States,” shall be
punished.
2
  18 U.S.C. § 1512(c) provides in relevant part that “[w]hoever corruptly … obstructs,
influences, or impedes any official proceeding, or attempts to do so,” shall be punished. To the
extent the federal government cannot establish the elements for primary violations of §§ 1505
and 1512(c), it cannot establish the dependent aiding and abetting or conspiracy charges either.
See, e.g., United States v. Ermoian, 752 F.3d 1165, 1168, 1172-73 (9th Cir. 2013) (reversing
conspiracy conviction under 18 U.S.C. § 1512(c) and (k) and directing acquittal because
government could not prove “official proceeding”); United States v. Davis, 717 F.3d 28, 33 (1st
Cir. 2013) (aiding and abetting requires proof that “the substantive offense was actually
committed”).

                                                3
States v. Sutherland, 921 F.3d 421, 426 (4th Cir. 2019). That concern is particularly pronounced

here, where federal ICE officers have increased their enforcement activities in state courthouses.

See Ryan v. U.S. Immigration & Customs Enforcement, 382 F. Supp. 3d 142, 148-50 (D. Mass.

2019).

         As discussed below, the terms “pending proceeding” in § 1505 and “official proceeding”

in § 1512(c) simply do not encompass the kind of ICE enforcement activity in state courthouses

alleged in the indictment. This plainly incorrect interpretation of “proceeding” is an apparent

effort by the federal government to erode the prerogative of the states to opt out of federal

immigration enforcement and to undermine judicial independence. Indeed, as applied to Judge

Joseph and Officer MacGregor, the federal government’s interpretation of “proceeding” is

precisely the type of “improbably broad” interpretation that would “fundamentally upset the

Constitution’s balance between national and local power” and have “deeply serious

consequences” for our constitutional system. Bond II, 572 U.S. at 860, 866.

         A. The Federal Government’s Attempt to Reinterpret the “Proceeding” Element
            Violates Basic Principles of Federalism and Judicial Independence.

         Basic principles of federalism and judicial independence require this Court to dismiss the

charges under § 1505 and § 1512(c) because there is no “clear indication” that Congress intended

its obstruction laws to criminalize interactions between ICE officers and state judges in state

courthouses. See Bond II, 572 U.S. at 857, 860 (citation omitted). It is “appropriate to refer to

basic principles of federalism embodied in the Constitution” to construe a federal criminal

statute. Id. at 859. In Bond II, the Supreme Court concluded that the “chemical weapons”

element of 18 U.S.C. § 229(a)(1), as applied to the facts in that case, was ambiguous, citing “the

improbably broad reach of the key statutory definition …; the deeply serious consequences of

adopting such a boundless reading; and the lack of any apparent need to do so in light of the

                                                 4
context from which the statute arose.” Id. at. 860. The Court relied on principles of federalism

in order to resolve this ambiguity, observing that “‘it is incumbent upon the federal courts to be

certain of Congress’ intent before finding that federal law overrides’ the ‘usual constitutional

balance of federal and state powers.’” Id. at 858 (quoting Gregory, 501 U.S. at 460).

       Here, the indictment rests on an “improbably broad reach” of the term “proceeding” to

encompass ICE enforcement activities in state courthouses and stretches the federal obstruction

statutes well beyond their intended purpose of protecting the integrity of adjudicative or

rulemaking proceedings before the federal courts and agencies – thus threatening grave harm to

Massachusetts. If “proceeding” were construed as broadly as the indictment requires, the

obstruction statutes would essentially require Massachusetts judges, in running their courtrooms

and otherwise discharging their judicial responsibilities, to prioritize the interests of ICE

enforcement officers above all else or risk federal prosecution. In other words, the federal

government seeks to use the federal obstruction statutes as a means of compelling state court

officials to defer to ICE officers, whenever they appear, over the parties, witnesses, and victims

in the case and above the requirements of the state law to be applied. This resulting specter of

federal prosecution for any misstep with regard to ICE would inevitably chill the independence

and impartiality of state court judges in the discharge of their duties. It could compel state

officials to circumvent or contravene the Supreme Judicial Court’s holding in Lunn v.

Commonwealth, 477 Mass. 517 (2017), that state law limits the authority of state and local

officers to participate in the federal government’s effectuation of civil immigration detainers. It

would also needlessly burden the day-to-day workings of District Courts throughout the




                                                  5
Commonwealth, which are responsible for hearing thousands of criminal cases each year.3 As in

Bond II, this Court should construe the reach of “proceeding” so as to avoid such extraordinary

interference with state judicial authority.

       Indeed, applying 18 U.S.C. §§ 1505 and 1512(c) to ICE courthouse enforcement

activities would risk inviting widespread violations of the anti-commandeering doctrine, which

recognizes that “[t]he Federal Government may not compel the States to … administer a federal

regulatory program,” New York v. United States, 505 U.S. 144, 188 (1992) – including federal

immigration enforcement activities. See, e.g., United States v. California, 921 F.3d 865, 890

(9th Cir. 2019); Galarza v. Szalczyk, 745 F.3d 634, 643 (3d Cir. 2014); Lunn, 477 Mass. at 526

(“[E]ven if the Federal government wanted to make State compliance with immigration detainers

mandatory, the Tenth Amendment likely would prevent it from doing so.”). Applying the

federal obstruction statutes in this manner would effectively coerce state judges into facilitating

federal immigration enforcement and deferring to ICE’s needs and perceived priorities over

legitimate but countervailing state interests. That would deny state court judges the “critical

alternative” required by the Tenth Amendment to “decline to administer the federal program.”

New York, 505 U.S. at 176-77. Simply put, there can be no more “direct affront to state

sovereignty” than installing federal officers in state courthouses and allowing them to coerce or

threaten state officials into assisting in federal enforcement activities. See Murphy v. Nat’l Coll.

Athletic Ass’n, 138 S. Ct. 1461, 1478 (2018).




3
 Fiscal Year 2018 statistics for the Massachusetts District Court Department show that district
court judges in Massachusetts handled 163,189 criminal matters, 736 of which were handled by
Newton District Court. See Massachusetts Court System, Trial Court Statistics for Fiscal Year
2018, District Court Department, Criminal Filings by Court Location (2018).


                                                 6
       B.      ICE Enforcement Activities Are Not “Proceedings” Under 18 U.S.C. § 1505
               or § 1512(c).

       In the absence of any clear congressional intent or judicial precedent supporting its

interpretation, the federal government should not be allowed to proceed with a prosecution that

so fundamentally undermines basic principles of federalism and judicial independence.

       As a matter of law, the terms “pending proceeding” in § 1505 and “official proceeding”

in § 1512(c) are limited in scope and do not encompass the kind of ICE enforcement activity in

state courthouses alleged in the indictment. Both statutes are limited to criminalizing efforts to

obstruct, influence, or impede formal court-like proceedings to enforce federal law. As this

Court has previously observed, the term “official proceeding” is used throughout § 1512 in “a

manner that contemplates a formal environment in which persons are called to appear or produce

documents.” United States v. Binette, 828 F. Supp. 2d 402, 404 (D. Mass. 2011) (quoting United

States v. Ramos, 537 F.3d 439, 463 (5th Cir. 2008)); see also Ramos, 537 F.3d at 462-64

(dismissing charge under § 1512(c)(2) because phone call between SEC investigators and

defendant “was not a ‘formal convocation’ called by the agency where Defendant was directed to

appear”); Ermoian, 752 F.3d at 1169 (directing verdict of acquittal because term “proceeding”

under § 1512(c)(2) clearly “connotes some type of formal hearing”). Similarly, the term

“proceeding” under § 1505 is limited to “actions of an agency which relate to some matter within

the scope of the rulemaking or adjudicative power vested in the agency by law.” United States v.

Higgins, 511 F. Supp. 453, 455 (W.D. Ky. 1981); accord United States v. Wright, 704 F. Supp.

613, 614-15 (D. Md. 1989) (investigation by U.S. Attorney’s Office was not proceeding under

§ 1505 because office lacks adjudicative and rulemaking authority); United States v. McDaniel,

No. 12-CR-0028, 2013 WL 3993983, at *2-4 (N.D. Ga. Jan. 29, 2013) (FBI investigation was

not proceeding under § 1505), adopted by 2013 WL 3994239 (N.D. Ga. Aug. 5, 2013).

                                                 7
       Here, the primary claims of the indictment are that an ICE officer appeared at the Newton

courthouse on April 2, 2018 to “take custody” of an individual “A.S.” upon his release from the

courthouse, and that, through their alleged actions, Judge Joseph and Officer MacGregor

conspired to “prevent[] the ICE officer from taking custody of A.S. at the [Newton] courthouse.”

Indictment (“Ind.”), ¶¶ 10, 25; see also id. ¶¶ 26-27, 30 (defendants allegedly acted to allow A.S.

“to evade arrest by the ICE Officer” at courthouse). Even assuming those allegations are true,

§§ 1505 and 1512(c) criminalize only the obstruction of certain formal agency proceedings, as

described above, not alleged interference with an officer’s attempt to effectuate a civil arrest in a

state courthouse. They simply do not apply.

       In an attempt to shoehorn the events at the Newton courthouse into the “proceeding”

element of §§ 1505 and 1512(c), the federal government claims that Judge Joseph and Officer

MacGregor obstructed a “federal immigration removal proceeding,” see Ind. ¶¶ 38, 40

(§ 1512(c)); id. ¶ 42 (§ 1505). The theory, apparently, is that anything an ICE officer does to

“identify” or “apprehend” an alien amounts to the conduct of a federal removal “proceeding,”

and, therefore, anyone who hinders the officer’s execution of such activities commits obstruction

of justice. See id. ¶ 1 (asserting that “ICE’s duties included conducting federal removal

proceedings, which encompassed, among other things, identifying, apprehending, and initiating

the removal process of aliens in the United States”); ¶ 10 (stating that ICE officer arrived at the

Newton courthouse as “part of ICE removal proceedings”). But that expansive interpretation of

federal authority and concomitant intrusion into operations of the state judiciary do not square

with the statutory requirements.

       First, federal immigration removal proceedings are conducted not by ICE, but by the




                                                  8
Executive Office for Immigration Review (EOIR), an office of the Department of Justice.4 And

while Department of Homeland Security (“DHS”) attorneys from ICE may advocate on behalf of

the government during formal removal proceedings, here no such formal proceedings are alleged

to have been ongoing; to the contrary, an order of removal already existed. See Ind. ¶ 8. The

fact that some officials from ICE may have a role in removal proceedings conducted by the

Justice Department does not make civil arrest activities performed by ICE officers in courthouses

“official proceedings” under § 1512(c).

       Second, ICE lacks the adjudicative or rulemaking authority required to satisfy the

“proceeding” element under § 1505. See Higgins, 511 F. Supp. at 455. ICE was created by the

Homeland Security Act of 2002, Pub. L. 107-296, §§ 441-446, 116 Stat. 2192-95 (codified as

amended at 6 U.S.C. §§ 251-256), which (i) transferred responsibility for Border Patrol,

detention and removal, intelligence, investigations, and inspections from the Immigration and

Naturalization Service (INS) to the agency that would become ICE, and (ii) transferred

responsibility for the INS’s adjudicatory functions to the Bureau of Citizenship and Immigration

Services, 6 U.S.C. § 271(b). There is no relevant rulemaking power vested in ICE, see Higgins,

511 F. Supp. at 455; indeed, it is not clear that ICE has promulgated regulations at all. From its

inception, ICE’s primary function has been enforcement, not adjudication or rulemaking.5


4
  See U.S. Dep’t of Justice, Executive Office for Immigration Review: An Agency Guide 1 (Dec.
2017) (EOIR “administers the Nation’s immigration court system” and decides whether a
foreign-born individual “is removable from the country and if found removable, whether they
qualify for protection or relief from removal”). EOIR immigration judges are responsible for
removal proceedings, while EOIR’s Board of Immigration Review handles appeals from those
decisions. Jill E. Family, A Broader View of the Immigration Adjudication Problem, 23 Geo.
Immigr. L.J. 595, 599 (2009). Immigration judges issue removal orders “at the conclusion” of
proceedings, and those orders become final upon dismissal or waiver of appeal. 8 U.S.C.
§ 1229a(c)(1)(A); 8 C.F.R. §§ 241.1, 1241.1.
5
 See, e.g., Department of Homeland Security, Operational and Support Components (Nov. 20,
2018) (“[ICE] promotes homeland security and public safety through the criminal and civil
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       Thus, ICE does not conduct the kind of formal court-like proceedings required to satisfy

the “official proceeding” element in § 1512(c). “Official proceeding” is defined for purposes of

§ 1512 as, in relevant part, a proceeding before a federal court, judge, or grand jury; a proceeding

before Congress; or “a proceeding before a Federal Government agency which is authorized by

law.” 18 U.S.C. § 1515(a)(1). The use of the preposition “before” indicates “an appearance in

front of the agency sitting as a tribunal.” Ermoian, 752 F.3d at 1170-71; accord Ramos, 537

F.3d at 462-63 (term “before” implies that “official proceeding” involves “some formal

convocation of the agency in which parties are directed to appear”); Binette, 828 F. Supp. 2d at

404 (“phone call between the SEC investigators and Defendant obviously was not a ‘formal

convocation’ called by the agency where Defendant was directed to appear”). The ICE officer

who waited in the Newton courthouse on April 2, 2018, pursuing an opportunity to take custody

of A.S., was not involved in such an official proceeding.

       Indeed, the federal government implicitly concedes that the attempt to remove A.S. in

2018 did not result from any formal hearing at all, at ICE or any other agency. It alleges that

A.S. was subject to removal “based upon a final order by a designated official,” Ind. ¶ 8, and the

Warrant of Removal referred to in the indictment states that A.S. was subject to removal based

upon a final order by “a designated official” (i.e., not an immigration judge, the Board of

Immigration Appeals, or a federal judge) pursuant to § 241(a)(5) of the Immigration and

Nationality Act (INA), see Exhibit A (Immigration Detainer Form and Warrant of Removal/




enforcement of federal laws governing border control, customs, trade, and immigration.”);
Reorganization Plan Modification for the Department of Homeland Security, H.R. Doc. No.
108–32 § (a) (2003), reprinted at 6 U.S.C. § 542 note (“The mission of [ICE] is: 1. To enforce
the full range of immigration and customs laws within the interior of the United States; and, 2.
To protect specified federal buildings.”).

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Deportation for Oscar Manuel Peguero aka Jose Medina-Perez).6 That statutory provision allows

the Attorney General to reinstate a prior order of removal after finding “that an alien has

reentered the United States illegally after having been removed or having departed voluntarily,

under an order of removal.” 8 U.S.C. § 1231(a)(5). Immigration officers can make this finding

of illegal reentry and reinstate the prior removal order without any hearing before EOIR or the

Board of Immigration Appeals.7 Actions taken to enforce a removal order unilaterally reinstated

by an immigration officer do not constitute the kind of formal, court-like agency convocation

required to support a charge under § 1512(c). See Ermoian, 752 F.3d at 1170-71; Ramos, 537

F.3d at 462-63; Binette, 828 F. Supp. 2d at 404.

       To be sure, there are some limited circumstances and other legal theories under which

interfering with a federal officer’s attempt to arrest an individual may violate federal law, but

those statutes are even more narrow in scope and certainly would not provide an avenue to reach

state court officials discharging their official responsibilities. For example, the accessory-after-

the-fact statute, 18 U.S.C. § 3, makes it a crime for a defendant, “knowing that an offense against

the United States has been committed, [to] receive[], relieve[], comfort[] or assist[] the offender

in order to hinder or prevent his apprehension, trial or punishment.” Similarly, 18 U.S.C.

§ 1512(d)(3) prohibits intentional harassment that hinders, delays, or prevents any person from



6
  Even though the detainer form states that “[t]he alien must be served with a copy of this form
for the detainer to take effect,” the indictment does not allege that A.S. was served with it. See
Exhibit A; Lunn, 477 Mass. at 519 n.4, 524-25 & n.15.
7
  See 8 C.F.R. § 241.8(a) (“The alien has no right to a hearing before an immigration judge in
such circumstances”). An immigration officer is authorized to reinstate a prior removal order
after determining that the prior removal order existed and that the alien illegally reentered the
country. Id. § 241.8(a), (c). See also U.S. Immigration and Customs Enforcement, Directive No.
11072.1 – Civil Immigration Enforcement Actions Inside Courthouses (Jan. 10, 2018) (stating
that ICE’s policy regarding civil immigration enforcement actions inside state courthouses
includes arrest of “aliens who have re-entered the country illegally after being removed”).

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“arresting or seeking the arrest of another person in connection with a Federal offense.” But

neither of those statutes is charged here, nor could they be where, as here, the ICE officer sought

to execute a civil arrest at the Newton courthouse, not to arrest A.S. in connection with a federal

offense. The express availability of federal charges for hindering arrests in specific

circumstances further undercuts the notion that the general obstruction of justice statutes apply

here.

        In sum, as a matter of law, and consistent with principles of federalism and judicial

independence, the term “proceeding” in §§ 1505 and 1512(c) does not encompass the type of

ICE courthouse enforcement activities alleged in the indictment.

II.     THE INDICTMENT’S FAILURE TO SHOW ANY INTENT BY THE
        DEFENDANTS TO OBSTRUCT A FEDERAL PROCEEDING CREATES A
        HEIGHTENED CONCERN THAT THIS PROSECUTION WILL CHILL THE
        OPERATIONS OF THE STATE JUDICIARY.

        The federal government’s unprecedented intrusion into state sovereignty is further

demonstrated by its impermissibly broad interpretation of the corrupt intent elements under 18

U.S.C. § 1505 and § 1512(c).

        A.     Where There is No “Proceeding,” Defendants Cannot Have Intended to
               Obstruct a Specific Official Proceeding.

        Just as the indictment fails to identify a “proceeding” for purposes of liability under

§ 1505 and § 1512(c), the indictment is also defective because it fails to state the required nexus

between the defendants’ alleged conduct and such a proceeding. The Supreme Court has

explained this “‘nexus’ requirement” as requiring, with respect to obstructing judicial

proceedings under 18 U.S.C. § 1503, “that the act must have a relationship in time, causation, or

logic with the judicial proceedings. In other words, the endeavor must have the natural and

probable effect of interfering with the due administration of justice.” United States v. Aguilar,


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515 U.S. 593, 599 (1995) (citations omitted). Courts have uniformly held that, to establish the

corrupt intent element of an offense under either § 1505 or § 1512(c), the federal government

must prove the same nexus between a defendant’s acts and the obstruction of an official agency

proceeding. See United States v. Friske, 640 F.3d 1288, 1292 (11th Cir. 2011) (“We now join

our sister circuits in concluding that § 1512(c)(2) also contains a nexus requirement as articulated

in Aguilar.”) (citations omitted); United States v. Young, 916 F.3d 368, 386 (4th Cir. 2019)

(same; collecting cases); United States v. Quattrone, 441 F.3d 153, 174 (2d Cir. 2006) (§ 1505

“requires a wrongful intent or improper motive to interfere with an agency proceeding, including

the judicially grafted nexus requirement”).

       Where there is no qualifying federal agency “proceeding” at all, there can be no nexus

between such a proceeding and the defendants’ alleged conduct. See, e.g., Young, 916 F.3d at

387 (vacating conviction under § 1512(c)(2) where defendant’s conviction was not “connected to

a specific official proceeding” and such “a specific official proceeding” was not reasonably

foreseeable to defendant). Again, ICE does not convene the kind of hearings required to

establish the “proceeding” element under §§ 1505 and 1512(c). See Section I.B, supra. Indeed,

the Warrant of Removal cited in the indictment establishes that the ICE officer at the Newton

courthouse was not enforcing the determination of any kind of agency hearing, but rather the

unilateral order of a “designated official.” Exhibit A. Because nothing that Judge Joseph or

Officer MacGregor allegedly did at the Newton courthouse on April 2, 2018 could have been

intended to obstruct a “specific official proceeding,” Young, 916 F.3d at 387, as opposed to

routine, day-to-day enforcement activities, the federal government cannot establish the nexus

element under either § 1505 or § 1512(c).




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       B.      The Defendants Also Did Not Commit the Specific Conduct Required to Act
               “Corruptly” Under § 1505 and § 1512(c)(2).

       In addition, the federal government has not alleged that the defendants engaged in the

conduct required to satisfy the corrupt intent element under § 1505 and § 1512(c)(2).

Specifically, there is no allegation that Judge Joseph or Officer MacGregor either made a false or

misleading statement to the ICE officer or withheld, concealed, altered, or destroyed a document.

See 18 U.S.C. § 1515(b). There is also no allegation at that Judge Joseph or Officer MacGregor

acted in a consciously “wrongful, immoral, depraved, or evil” way or with the “level of

culpability … usually require[d] in order to impost criminal liability” for the purposes of § 1512.

See, e.g., Arthur Andersen LLP v. United States, 544 U.S. 696, 705-06 (2005) (construing

meaning of “corruptly” under § 1512(b)). Instead, the government creates a false equivalence

between violating a Trial Court policy against turning off courtroom recording and committing a

federal crime – a dangerous step that is both legally deficient and, if permitted to proceed, would

impermissibly infringe upon the independence of the state judiciary.

       To allay due process vagueness concerns, courts have interpreted the “corruptly”

requirement in § 1515(b) to require certain concrete corrupt conduct on the part of the defendant.

In United States v. Poindexter, 951 F.2d 369, 378 (D.C. Cir. 1991), the D.C. Circuit held that the

term “corruptly” as then used in § 1505 was unconstitutionally vague because “in the absence of

some narrowing gloss, people must ‘guess at its meaning and differ as to its application.’”

Congress responded to the Poindexter ruling by amending 18 U.S.C. § 1515(b) to define

“corruptly” for purposes of § 1505 as “acting with an improper purpose, personally or by

influencing another, including making a false or misleading statement, or withholding,

concealing, altering, or destroying a document or other information.” Courts have since held that

the phrase “acting with an improper purpose” remains too vague to alleviate the vagueness

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concerns addressed in Poindexter. United States v. Pac. Gas & Elec. Co., 153 F. Supp. 3d 1076,

1083 (N.D. Cal. 2015); United States v. Kanchanalak, 37 F. Supp. 2d 1, 4 (D.D.C. 1999); see

generally Johnson v. United States, 135 S. Ct. 2551, 2556 (2015) (stating that a criminal law

violates due process when it is “so vague that it fails to give ordinary people fair notice of the

conduct it punishes, or so standardless that it invites arbitrary enforcement”). Therefore, to

satisfy the corrupt intent element, prosecutors must instead prove some kind of specific conduct

proscribed by § 1515(b): “making a false or misleading statement, or withholding, concealing,

altering, or destroying a document or other information.”

       The federal government has not alleged such conduct here, by either Judge Joseph or

Officer MacGregor. First, neither defendant is alleged to have made any statement to the ICE

officer, false, misleading, or otherwise. Officer MacGregor did not converse with the ICE

officer as he escorted A.S. from the courtroom to the lockup downstairs. Ind. ¶¶ 22-24. Nor did

Judge Joseph address the ICE officer at any time, but rather allegedly directed the Clerk to

instruct him to leave the courtroom and wait outside (which, even if true, was an instruction

within her authority, not a false or misleading statement). Id. ¶ 19. The indictment also alleges

that the Clerk “informed the ICE Officer that, in the event of A.S.’s release, A.S. would be

released out of the Courtroom into the [Newton courthouse] lobby,” id., but the Clerk is not a

defendant, and there is no claim that he made this statement at Judge Joseph’s direction. See

also id. ¶ 24 (stating that Clerk instructed ICE officer to wait in the lobby “as that was where

A.S. would have been released in accordance with customary [Newton courthouse] practice”).

Nor is either defendant alleged to have withheld, concealed, altered, or destroyed a document or

other information. The indictment alleges that, following A.S.’s arraignment, Judge Joseph

directed the Clerk to go “off the record” for approximately 52 seconds, id. ¶ 21, but not making a



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recording is distinct from making a recording and then concealing, altering, or destroying it.8 It

further alleges that Judge Joseph gave this direction “to conceal [her] conversation with the

Defense Attorney,” but even assuming that a sitting judge going “off the record” while

conversing with litigants in her courtroom could amount to “conceal[ment]” of “information” in

some way, the existence or not of a transcript did not impede or affect the ICE officer, who had

already left the courtroom. See Ind. ¶¶ 19-20. Thus, even if this Court were to find that the ICE

officer was somehow participating in an actionable “proceeding” while at the Newton

courthouse, but see Section I, supra, neither defendant committed the kind of conduct in relation

to that ICE officer required to satisfy the corrupt intent element under the charged statutes.

III.   JUDGE JOSEPH IS IMMUNE FROM PROSECUTION FOR ALL ACTS TAKEN
       WITHIN THE SCOPE OF HER JUDICIAL DUTIES.

       Finally, all charges against Judge Joseph should be dismissed because she is immune

from criminal prosecution for actions taken within her official duties as a Massachusetts District

Court judge. The Supreme Court has long recognized that it is “a general principle of the highest

importance to the proper administration of justice that a judicial officer, in exercising the

authority vested in him, [should] be free to act upon his own convictions, without apprehensions

of personal consequences to himself.’” Stump v. Sparkman, 435 U.S. 349, 355 (1978) (quoting

Bradley v. Fisher, 80 U.S. (13 Wall.) 335, 347 (1871)). The doctrine of judicial immunity is

rooted in the English common law and aimed primarily at preserving judicial independence.

Forrester v. White, 484 U.S. 219, 225 (1988). As the First Circuit recently observed, its purpose

is “not to buffer bad judges but ‘for the benefit of the public, whose interest it is that the judges


8
 It is telling that while the indictment charges obstruction under the “residual clause” in 18
U.S.C. § 1512(c)(2), it does not charge the defendants under § 1512(c)(1), the provision of the
Sarbanes-Oxley Act that prohibits evidence impairment, including the alteration, destruction, or
concealment of “a record, document, or other object.”

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should be at liberty to exercise their functions with independence and without fear of

consequences.’” Zenon v. Guzman, 924 F.3d 611, 616 (1st Cir. 2019) (quoting Pierson v. Ray,

386 U.S. 547, 554 (1967)).

       The scope of judicial immunity in criminal proceedings is less well defined than in civil

proceedings, but it is informed by the same considerations and should be interpreted with similar

breadth. See, e.g., United States v. Chaplin, 54 F. Supp. 926, 934 (S.D. Cal. 1944) (“If judges

are protected against civil actions for judicial acts, the reasons are more weighty that they should

be protected against criminal actions.”). Immunity is “overcome only in cases where a judge is

carrying out a nonjudicial action, or in instances where a judge takes an action, though seemingly

‘judicial in nature,’ that is ‘in the complete absence of all jurisdiction.” Zenon, 924 F.3d at 617

(quoting Mireles v. Waco, 502 U.S. 9, 11-12 (1991)); see also Doe v. Brandeis Univ., No-19-

11049-LTS, 2019 WL 2617403, at *2 (D. Mass. June 26, 2019) (Sorokin, J.) (“Allegations of

bad faith or malice do not overcome judicial immunity.”). Thus, judges may not be absolutely

immune from criminal prosecution for non-judicial acts, including bribery, tax evasion, or other

acts taken in bad faith. See, e.g., Ex parte Virginia, 100 U.S. 339, 348 (1879) (no bar to criminal

prosecution where judge was not “performing a judicial act”); Braatelien v. United States, 147

F.2d 888, 895 (8th Cir. 1945) (stating that even though “as a general rule a judge can not be held

criminally liable for erroneous judicial acts [made] in good faith,” a judge “may be held

criminally responsible when he acts fraudulently or corruptly”). By contrast, in Chaplin, the

court sustained a state judge’s defense that he should be immune from indictment and

prosecution for depriving a citizen of civil rights “under the color of any law” in judicial

proceedings in his court. 54 F. Supp. at 934-35. Similarly, the Pennsylvania Supreme Court has

recognized that magistrate judges “cannot be subjected to liability, civil or criminal, for any of



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their judicial acts, no matter how erroneous, so long as they act in good faith.” In re McNair,

187 A. 498, 502 (Pa. 1936). And in Commonwealth v. Tartar, 239 S.W.2d 265, 266-67 (Ky.

App. Ct. 1951), the court held that an indictment of a judge for misfeasance in office was

properly dismissed because “judges acting in their official capacities should be protected from

harassment by either civil suits or criminal prosecutions.” Thus, like anyone else, judges may be

prosecuted for out-of-court conduct that is criminal in nature, but should not be subject to

criminal prosecution for judicial acts within their authority and jurisdiction – even those that may

have ultimately been wrong – because to do so would seriously undermine the independence of

the judiciary. See, e.g., Petition of Dwyer, 406 A.2d 1355, 1361 (Pa. 1979) (“Judges made timid

because of fear of criminal prosecutions for errors in their decisions make poor public servants.

History has borne out the fact that the only way judicial functions can be independently

performed in the manner required in a democracy is to clothe ‘judicial performers’ with this

immunity.”); Tartar, 239 S.W.2d at 266 (judges should not be “unduly burdened defending

charges instigated by other governmental officers or aggrieved members of the public”).

       Here, the “essential character” of Judge Joseph’s alleged conduct was judicial and

performed within the scope of her official duties, including managing her courtroom. See Zenon,

924 F.3d at 618. She was at the relevant time “assigned as the District Court Judge at [the

Newton courthouse], hearing and ruling on several criminal proceedings in the Courtroom.” Ind.

¶ 14. She conducted hearings in which she arraigned A.S. and, later, addressed the terms of his

bail, detention, or release. Id. ¶¶ 17-18. She is alleged to have directed the ICE officer to leave

the courtroom, id. ¶ 19, and, during a conference in the courtroom and at sidebar, directed the

clerk to go off the record for less than a minute, id. ¶¶ 20-22. She then allegedly agreed with

A.S.’s attorney that he would be released from the rear exit of the courthouse. Id. ¶¶ 30-32.



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       It is well established in our constitutional system that courtrooms and courthouse

premises “are subject to the control of the court.” Sheppard v. Maxwell, 384 U.S. 333, 358

(1966). That control includes the “privilege of the court” to protect those who come to, attend,

or leave a court from arrest on unrelated charges. Stewart v. Ramsay, 242 U.S. 128, 130-31

(1916); see also Ryan, 382 F. Supp. 3d at 155-57. Similarly, a “judge’s direction to court

officers to bring a person who is in the courthouse before him is a function normally performed

by a judge” and therefore protected by judicial immunity. Mireles, 502 U.S. at 12. So are such

functions as “adjudicating disputes, … presiding over courtroom sessions, … and recording

rulings.” Ives v. Agastoni, No. 15-30153-MAP, 2015 WL 9647559, at *3 (D. Mass. Dec. 14,

2015), adopted by 2016 WL 79881 (D. Mass. Jan. 5, 2016).

       The federal government alleges that certain of Judge Joseph’s alleged actions violated

Massachusetts Trial Court rules or policies.9 But even assuming that to be true, a judge’s

purported violation of a state court rule is immaterial to whether judicial immunity applies. See,

e.g., Savoie v. Martin, 673 F.3d 488, 493-94 (6th Cir. 2012) (judicial immunity applied even

though judge violated Tennessee court rule prohibiting him from serving as judge after acting as



9
  The federal government’s characterization of the Trial Court’s DHS policy misapprehends its
primary purpose: to restrict the involvement of trial court officials in ICE’s courthouse
enforcement activities. For example, the policy directs Trial Court employees, including judges
and court officers, not to “hold any individual who would otherwise be entitled to release based
solely on a civil immigration detainer or civil immigration warrant.” Chief Justice Paula M.
Carey & Court Administrator Jonathan S. Williams, Executive Office Transmittal 17-13,
Policies and Procedures Regarding Interactions with the Department of Homeland Security 1
(Nov. 10, 2017). It sets out a procedure by which DHS officers may be admitted to a
courthouse’s holding cell area in order to take custody of a person pursuant to a detainer, but
makes clear that such access is contingent on the DHS officer making such a request. Id. at 2-3.
The policy allows DHS officials to enter and conduct activities in state courthouses provided that
“their conduct in no way disrupts or delays court operations, or compromises court safety or
decorum,” id. at 2, but prohibits them from taking an individual into custody in a courtroom
without receiving advance permission by a judicial officer, id. at 3.

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mediator in same dispute). Indeed, a “judge will not be deprived of immunity because the action

he took was in error, was done maliciously, or was in excess of his authority; rather, he will be

subject to liability only when he has acted in the ‘clear absence of all jurisdiction.’” Stump, 435

U.S. at 356-57 (quoting Bradley, 80 U.S. at 351); see also Slotnick v. Garfinkle, 632 F.2d 163,

166 (1st Cir. 1980) (allegation that judges acted “in excess of their jurisdiction” is “not enough to

lift the cloak of absolute judicial immunity”). Here, the indictment does not allege that Judge

Joseph acted in the absence of all jurisdiction, and no such allegation would be plausible since

her alleged acts were clearly within the scope of the everyday activities and responsibilities of a

District Court judge, and not something that inured to her personal benefit as a private citizen.

       There is an especially compelling need for judicial immunity in this case, given the grave

danger the prosecution poses to federalism and judicial independence. As discussed, the federal

government has never before sought to use the criminal law to punish state judges who do not

cooperate with federal immigration activities, and there is no evidence that Congress intended

federal prosecutors to use 18 U.S.C. § 1505 or § 1512(c) as tools to alter the usual balance of

federal and state powers in this manner. Allowing the prosecution to proceed would “destroy the

independence of the judiciary” and place “the official action of every justice of the peace,

municipal or city court judges, Superior Court judges, Appellate Court judges and Supreme

Court judges in our country at the mercy of a United States Attorney.” Chaplin, 54 F. Supp. at

934. Preservation of our constitutional order requires this Court to terminate this prosecution,

whether through dismissal of the charges on their merits or application of judicial immunity.

                                         CONCLUSION

       For the reasons stated above, this Court should dismiss Counts I, II, and III of the

indictment.



                                                 20
                                              Respectfully submitted,

                                              COMMONWEALTH OF MASSACHUSETTS

                                              By its attorney,

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                                              ATTORNEY GENERAL


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Dated: September 13, 2019


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and that paper copies will be sent to those indicated as non-registered participants on September
13, 2019.

                                                      /s/ Robert E. Toone




                                                 21
                     Exhibit A

Immigration Detainer Form and Warrant of Removal/Deportation for
          Oscar Manuel Peguero aka Jose Medina-Perez
